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 9
                                     UNITED STATES DISTRICT COURT
10
                                  NORTHERN DISTRICT OF CALIFORNIA
11
                                         SAN FRANCISCO DIVISION
12
   UNITED STATES OF AMERICA,                         ) Case No. 20-CR-00337 WHO
13                                                   )
           Plaintiff,                                ) UNITED STATES’ EX PARTE APPLICATION
14                                                   ) AND ORDER PERMITTING RELEASE OF
       v.                                            ) GRAND JURY TRANSCRIPTS AND
15                                                   ) SUBPOENAS
   JOSEPH SULLIVAN,                                  )
16                                                   ) Trial Date:     September 6, 2022
           Defendant.                                ) Court:          Hon. William H. Orrick.
17                                                   )
                                                     )
18
   A.      Introduction
19
           The United States hereby respectfully applies ex parte for an order, pursuant to Federal Rule of
20
   Criminal Procedure 6(e), authorizing the government to provide defendant’s counsel with copies of the
21
   grand jury testimony of certain witnesses whom the government may call at trial. The government
22
   further requests authorization to provide copies of subpoenas duces tecum issued in the course of the
23
   grand jury’s investigation.
24
   B.      Government Request
25
           The secrecy provisions of Federal Rule of Criminal Procedure 6(e) provide in pertinent part
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   //
27
   //
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     USA’S APP. FOR RELEASE OF GRAND JURY MATERIALS
     20-CR-330                                                                                      2
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 1 that:

 2          The Court may authorize disclosure – at a time, in a manner, and subject to any other
            conditions that it directs – of a grand-jury matter:
 3
            (i) preliminarily to or in connection with a judicial proceeding . . . .
 4

 5 Fed. R. Crim. P. 6(e)(3)(E). The Court’s power to order disclosure is discretionary and may be

 6 exercised upon a showing of need and a finding that disclosure is required by the ends of justice. In re

 7 William H. Pflaumer & Sons, Inc., 53 F.R.D. 464, 470 (E.D. Pa. 1971); see also United States v. Procter

 8 & Gamble Co., 356 U.S. 677, 682 (1958).

 9          In U.S. Industries, Inc. v. United States District Court, 345 F.2d 18 (9th Cir.), cert. denied, 382

10 U.S. 814 (1965), the Ninth Circuit observed that disclosure should be liberally allowed when the

11 traditional policies underlying grand jury secrecy are no longer served. The court held that when the

12 reasons for the policy of secrecy “do not apply at all in a given situation, or apply to only an

13 insignificant degree, the party seeking disclosures should not be required to demonstrate a large

14 compelling need.” Id. at 21.

15          The Ninth Circuit listed five policy considerations underlying the need for grand jury secrecy:

16          (1) to prevent the escape of those whose indictment may be contemplated; (2) to insure
            the utmost freedom to the grand jury in its deliberations, and to prevent persons subject to
17          indictment or their friends from importuning the grand jurors; (3) to prevent subornation
            of perjury or tampering with the witnesses who may testify before the grand jury and
18          later appear at the trial of those indicted by it; (4) to encourage free and untrammeled
            disclosures by persons who have information with respect to the commission of crimes;
19          (5) to protect the innocent accused who is exonerated from disclosures of the fact that he
            has been under investigation, and from the expense of standing trial where there was no
20          probability of guilt.

21 Id. at 22 (quoting United States v. Amazon Ind. Chem. Corp., 55 F.2d 254 (D. Md. 1931)); accord

22 Procter & Gamble Co., 356 U.S. at 681-82 n.6.

23          In this case, the policy considerations requiring secrecy apply with diminished force. The case

24 has already been indicted, and the matter is set to proceed to trial on September 6, 2022. See In re

25 William H. Pflaumer & Sons, Inc., 53 F.R.D. at 470 (stating that “once a grand jury has concluded its

26 work, the courts have, to some degree, relaxed the secrecy principle”). Disclosing the testimony of
27 certain witnesses before the grand jury who are expected to testify at trial or subpoenas duces tecum

28 would not in this case implicate the policy considerations outlined above. This is particularly so in light

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 1 of the Jencks Act’s command that a trial witness’s relevant prior statements must ultimately be

 2 produced. See 18 U.S.C. § 3500.

 3 C.       Conclusion

 4          Accordingly, the government moves this Court to issue an order authorizing the government to

 5 provide defendant’s counsel with copies of the grand jury testimony of certain witnesses whom the

 6 government may call at trial, in addition to copies of subpoenas duces tecum issued in the course of that

 7 investigation. A proposed order is set out below.

 8 DATED: January 25, 2022                              Respectfully submitted,

 9                                                      STEPHANIE M. HINDS
                                                        United States Attorney
10

11
                                                                   /s/
12                                                      ANDREW F. DAWSON
                                                        Assistant United States Attorney
13

14                                                  ORDER
15          IT IS HEREBY ORDERED pursuant to Federal Rule of Criminal Procedure 6(e)(3)(E) that
16 plaintiff United States of America may supply counsel for defendant with a copy of the grand jury

17 testimony of witnesses the government may call at trial. In addition, plaintiff United States of America

18 may supply counsel for defendant with copies of subpoenas duces tecum issued in the course of the

19 grand jury’s investigation in this matter.

20          IT IS FURTHER ORDERED that defense counsel shall not disclose such grand jury testimony
21 or subpoenas to any other persons, except as necessary in preparation of the defense, without prior

22 authorization from this Court, and that the copies of the transcripts and subpoenas duces tecum provided

23 to defense counsel (and any reproductions or copies made of the produced copy) shall be returned to the

24 government or destroyed at the conclusion of proceedings.

25

26 DATED:January 27, 2022                               ________________________________
                                                        HONORABLE WILLIAM H. ORRICK
27
                                                        United States District Judge
28

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